Order entered July 13, 2022
ALR
                                    [pic]

                                   In The
                              Court of Appeals
                      Fifth District of Texas at Dallas

                             No. 05-21-00545-CV

                       Majgek Partners, LLC, Appellant

                                     V.

                         MO and Associates, LLC and
                    Jimmy and Susan Montgomery, Appellees

              On Appeal from the 401st Judicial District Court
                            Collin County, Texas
                    Trial Court Cause No. 401-00310-2019

                                    ORDER

      Appellees’ joint unopposed motion for extension  of  time  to  file  a
motion for rehearing is GRANTED.  Appellees’ motion is now due to  be  filed
on or before August 11, 2022.

                                       /s/   AMANDA L. REICHEK
                                             JUSTICE

